






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-08-058 CR


____________________



JUSTIN TYRONE YOUNG, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 07-00711






     MEMORANDUM OPINION


	On January 11, 2008, the trial court sentenced Justin Tyrone Young on a conviction
for attempted robbery.  Young filed a notice of appeal on February 8, 2008.  The trial court
entered a certification of the defendant's right to appeal in which the court certified that this
is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The district clerk has provided the trial court's certification to the Court of
Appeals.

	On February 12, 2008, we notified the parties that we would dismiss the appeal  unless
an amended certification was filed within fifteen days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 25.2(f).  The record has not been
supplemented with an amended certification.

	Because the record does not contain a certification that shows the defendant has the
right of appeal, we must dismiss the appeal.  See Tex. R. App. P. 25.2(d).  Accordingly, we
dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

								                                                        

									HOLLIS HORTON

										Justice

	

Opinion Delivered March 12, 2008 

Do Not Publish

Before McKeithen, C.J., Gaultney and Horton, JJ.


